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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                       )
                                                )
                 Plaintiff,                     )
                                                )
       vs.                                      )    No. 23-CR-30103-SPM
                                                )
WILLIAM GOLDSMITH,                              )
                                                )
                 Defendant.                     )

             MOTION TO DESIGNATE CASE A MULTIPLE VICTIM CASE
                  UNDER THE JUSTICE FOR ALL ACT OF 2004

       The United States of America moves this Court for an Order designating this case as a

Multiple Victim case pursuant to the Justice for All Act of 2004, 18 U.S.C. §3771(d)(2), and

permitting the Government to provide notice of the proceedings through an internet website.

       This case involves the sale of misbranded drugs by Defendant William Goldsmith through

his online business, Malosi Herbs Corporation (“Melosi Herbs”) utilizing the website

www.malosiherbs.com. Through this website, Defendant sold and dispensed products containing

sildenafil citrate to purchasers throughout the United States. Based on a review of the Defendant’s

customer lists, the Government determined that the Defendant sold misbranded products to over

2,000 victims.

       Determining verifiable contact information for the victims has been difficult. During the

investigation, agents with the Food and Drug Administration Office of Criminal Investigations

(FDA-OCI) called over 100 customers in an attempt to obtain statements. Most customers could

not be reached or failed to return the agents’ calls. The FDA-OCI agents were able to pull some




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shipping addresses from the Defendant’s customer lists, but those addresses are now several years

old.

       Under 18 U.S.C. §3771(a), a crime victim has certain rights, including a right to

“reasonable, accurate, and timely notice” of court proceedings and the right to confer with the

attorney for the government in the case. In this case, however, because of the large number of

victims and lack of verifiable contact information, it is impractical for the government to give

individualized notice to each victim. It is likewise impractical for government attorneys to be

available to consult with each victim, as the Act contemplates in the typical case.

       The Act provides, in Section 3771(d)(2), that where the Court finds that “the number of

crime victims makes it impracticable to accord all of the crime victims the rights described in

subsection (a), the court shall fashion a reasonable procedure to give effect to this chapter that does

not unduly complicate or prolong the proceedings.” The Act places no limitations on the alternative

procedures, which a Court may fashion other than that the procedures be reasonable to effectuate

the Act and that they not unduly complicate or prolong the proceedings.

       The government has considered various alternative procedures. In some cases, the

Department of Justice has taken out an advertisement in a national publication, for instance, such

as the Wall Street Journal. However, we are unable to identify a single publication that would be

reasonably calculated to give notice to all of the victims in this case.

       Since the cost of mailing is prohibitive and a publication in a national periodical is unlikely

to be of any practical value, the government proposes to comply with the Act through the

establishment of a web page that can be accessed by the public. This procedure has been adopted,

with this Court’s blessing, in other large victim cases, see, e.g., United States v. Swinson, No. 18-

CR-30056-DRH, United States v. Garten, No. 12-CR-30320-GPM-NJR, and it is the most



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practical way of complying with the Act under the circumstances, without unduly complicating or

prolonging the proceedings.

       WHEREFORE, the United States is asking the Court for an Order designating this case as

a Multiple Victim case pursuant to the Justice for All Act of 2004, 18 U.S.C. §3771(d)(2), and

permitting the government to provide notice of the proceedings through an internet website.


                                                    Respectfully submitted,

                                                    RACHELLE AUD CROWE
                                                    United States Attorney


                                                    __________________________
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